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               IN THE UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


In re:

TERESA GAFFNEY                                  Case No.: 8-22-bk-00690-MGW
                                                Chapter 13
Debtor.
______________________________/

            OBJECTION TO MOTION TO APPEAR PRO HAC VICE

       COMES NOW Creditor, PHILLIP A. BAUMANN, as Administrator Ad Litem of the
Estate of John J. Gaffney, deceased, by and through his undersigned counsel, and objects
to James J. Macchitelli’s Motion for Admission of James J. Macchitelli to Appear Pro Hac
Vice [Doc. 92], as follows:

   1. Debtor previously filed Debtor's Application to Employ Professional [Doc. 13] in
      which she sought to retain attorney James J. Macchitelli on a contingency basis to
      handle three state court matters.
   2. At the time of filing Debtor's Application to Employ Professional [Doc. 13], Debtor
      had already retained James J. Macchitelli to represent her in the matter styled The
      Florida Bar v. Teresa Gaffney, SC21-938, without any permission from this Court.
   3. James J. Macchitelli is currently counsel of record in the case styled Teresa
      Gaffney, et al., v. Ronald Ficarotta, et al. Case 8:21-cv-21, pending in the Middle
      District of Florida.
   4. James J. Macchitelli has sought to appear pro hac vice in the case styled Teresa
      Gaffney v. Joshua Doyle, Executive Director of the Florida Bar, et al., Case No.
      8:22-cv-1613, pending in the Middle District of Florida. Although the motion to
      appear pro hac vice in that case was denied, without prejudice, Mr. Macchitelli
      continues to file documents in that matter.
   5. In the instant bankruptcy, Mr. Macchitelli has committed the unlicensed practice
      of law in this Court through the filing of the following documents without ever
      having requested pro hac vice admission:
          a. Second Motion for Protective Order [Doc. 55];
          b. Notice of Hearing on Second Motion for Protective Order [Doc. 58];
          c. Objection to Claims(s), Claim No. 2 of IRS [Doc. 88];
          d. Objection to Claim(s), Claim No. 4 for Phillip A. Baumann [Doc. 89];
          e. Objection to Claim(s), Claim No. 5 of Brannock Humphries & Berman [Doc.
             90]; and
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           f. Objection to Claim(s), Claim No. 6 of Sheldon D. McMullen, PA [Doc. 91].
   6.   Local Rule 2090-1(c)(1) provides as follows:
               Attorneys Not Admitted to Practice in the Middle District. An
               attorney who is a member in good standing of the bar of a District
               Court of the United States other than the Middle District of Florida
               (a “Non-Resident Attorney”) may appear pro hac vice upon motion
               to the Court provided that such privilege is not abused by frequent or
               regular appearances in separate cases to such a degree as to
               constitute the maintenance of a regular practice of law in the Middle
               District of Florida. Motions to appear pro hac vice shall include the
               state(s) where the attorney is admitted to practice and associated bar
               number(s), and be accompanied by a written designation of an
               attorney admitted to practice in the Middle District and that
               attorney’s consent to act as local counsel. A form motion to appear
               pro hac vice, a form written designation, and a form order granting
               the    motion      are   available     on    the   Court’s    website,
               www.flmb.uscourts.gov.
   7.   As shown above, Mr. Macchitelli is abusing the privilege by his frequent and
        regular appearances in separate cases to such a degree to constitute the regular
        practice of law in in the Middle District of Florida.
   8.   As shown above, Mr. Macchitelli has participated in the unlicensed practice of law
        before this Court.      This demonstrates Mr. Macchitelli’s lack of professional
        character and his propensity to act contrary to the Rules governing this Court.
   9.   Mr. Macchitelli’s prior flaunting of the Rules governing this Court should not be
        rewarded by granting him the right to specially appear in this matter pursuant to
        Local Rule 2090-1.

   WHEREFORE Creditor, PHILLIP A. BAUMANN, as Administrator Ad Litem of the
   Estate of John J. Gaffney, deceased, respectfully requests that this Honorable Court
   deny the Motion [Doc.92].

Dated this 14th day of September, 2022.

                                          Respectfully submitted,
                                          BaumannKangas Estate Law


                                          /s/Michael R. Kangas
                                          Michael R. Kangas
                                          Florida Bar No. 54492
                                          201 East Kennedy Boulevard, Suite 830
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                                       Attorney for the Administrator Ad Litem
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                                       Secondary:
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                                       jek@estatelawflorida.com


                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished via the Court’s CM/ECF system or U.S. Mail to:

      Office of the US Trustee, Timberlake Annex, 501 E. Polk Street, Suite 1200,
      Tampa, Florida, 33602;

      Chapter 13 Trustee, Kelly Remick, P.O. Box 89948, Tampa, Florida, 33689;

      Attorney for Debtor, Ziona Kopelovich, 5422 Trouble Creek Road, New Port
      Richey, Florida 34652;

      Keith Labell, Robertson, Anschutz, Schneid, Crane & Partners, PLLC, 6409
      Congress Avenue, Suite 100, Boca Raton, Florida 33487;

      Teresa Gaffney, P.O. Box 18112, Tampa, Florida 33679.

on this 14th day of September, 2022.


                                       /s/Michael R. Kangas
                                       Michael R. Kangas
                                       Florida Bar No. 54492
